Case 1:15-cr-00065-LG-RHW Document 402 Filed 09/13/16 Page 1 of1

 

 

 

 

 

 

 

AO 245A (Rev. 12/03) Judgment of Acquittal
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—ECILED
UNITED STATES DISTRICT COURT
SEP 1.3 2016
SOUTHERN DISTRICT OF MISSISSIPPI o iets
[BY nn DEPUTY |
UNITED STATES OF AMERICA
JUDGMENT OF ACQUITTAL

Vv.

Mikal C. Watts
CASE NUMBER: | 1:15CR00065-001

The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.

RE.

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WA Honorable Louis S) Jr.
Chief U.S. District Court Judge

Name and Title’ of Judge
g va Oa/6

“Oe ” Date
